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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                   )
                                            )
               Plaintiff,                   )
                                            )
vs.                                         )       CASE NO. 19-CR-30022-SMY
                                            )
ALEX MOLINA,                                )
                                            )
               Defendant.                   )

                                 STIPULATION OF FACTS

       The United States and the Defendant agree and stipulate as follows:

       1.      From an unknown date but at least on or about October 1, 2015, and continuing

until on or about June 19, 2018, David Banuelos, Alex Molina, Greg Black, Derek Dougherty,

and others not named in the Superseding Indictment agreed and conspired to distribute more than

500 grams of a mixture or substance containing a detectable amount of methamphetamine and

also agreed and conspired to distribute more than 500 grams of a mixture or substance containing

a detectable amount of cocaine in Madison County, Illinois and elsewhere.

       2.     Madison County, Illinois is located within the Southern District of Illinois.

       3.      On or about February 6, 2018, in Madison County, Illinois, within the Southern

District of Illinois, Alex Molina knowingly and intentionally possessed 1289.1 grams of crystal

methamphetamine with the intent to distribute that substance. At the time of this possession with

the intent to distribute, Molina knew that the methamphetamine was a controlled substance.

       4.     During the course of the conspiracy to distribute controlled substances, Alex

Molina was supplied with kilogram quantities of cocaine from David Banuelos. Banuelos

delivered to Molina at least 3 kilograms of cocaine during the course of this conspiracy. After

receiving the cocaine during the course of this conspiracy, Molina would distribute some of the

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cocaine to Black-often providing the cocaine to Black on consignment. After Black sold the

cocaine to customers, he would provide a portion of the proceeds to Molina. Also during the

course of this conspiracy, Black would often store the cocaine that Molina received from

Banuelos in Black's residence.

        5.     Also during the course of the conspiracy, Alex Molina was supplied with pound

quantities of crystal methamphetamine from David Banuelos. Banuelos would often provide

methamphetamine to Molina on consignment. After receiving the methamphetamine during the

course of this conspiracy, Molina would distribute some of the methamphetamine to Black.

Molina received more than 10 pounds of methamphetamine from Banuelos during the course of

this conspiracy. At the time of his arrest in this case, Molina owed Banuelos drug proceeds.

        6.     On January 25, 2018, Molina knowingly and intentionally distributed 111.4 grams

of crystal methamphetamine to a confidential source. At the time of this distribution, Molina

knew that the methamphetamine was a controlled substance.

       7.      On January 29, 2018, Molina knowingly and intentionally distributed 111.2 grams

of crystal methamphetamine to a confidential source. At the time of this distribution, Molina

knew that the methamphetamine was a controlled substance.

        8.     On February 1, 2018, Molina knowingly and intentionally distributed 110.9 grams

of crystal methamphetamine to a confidential source. At the time of this distribution, Molina

knew that the methamphetamine was a controlled substance.

        10.    Molina stipulates that the facts set forth above prove beyond a reasonable doubt

the conduct charged in Counts 1, and 2 of the Superseding Indictment.

       11.     Molina stipulates that venue is proper in the Southern District of Illinois, as overt

acts in furtherance of the conspiracy occurred within the district.



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        SO STIPULATED.
                                         UNITED STATES OF AMERICA,

                                         STEVEN WEINHOEFT
                                         United States Attorney




                                         ~~~
                                         Assistant United States Attorney



Attorney for Defendant


Date:   ~h/   ,;2p                       Date:    ~bJ~
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